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                         iN THE UNiTED Sl'I\TES BANKRUPTCY COURT FOR TOE
                                      DISTRICT or DEL/\ WARE

      In 1'.):                                                       Chapter 11
                                                              )
                                                              )
      TRIBUNE CO., et aI,                                     )      No. 08-bk~13141 (K.JC)
                                                              )
                                Debtors.                      )      JointlvJ AdministCl€'d
                                                              )

             CONSENT EXT¡':NDlNG TIlE TIME fOR THE INTERNAL REVENUE SERVICE
                                 JJLtli.J~ PI~OOFS OF CL1JJM

                 And now, this _ day of _______ .. "..___....".___.. ¡ 200, upon Llgreement of the

      Inh~I'¡1J Reveniie Service and the Debtors, it is ORDERED that ihe Illtern..~l Rcv(muc

      S('rvLcC ~h¡;ll hav\? until Scptcnilx~r :)), 2009 to iilc a proof of claim in thL-; proceeding:


      and shall not be t-r¡)nt4.~d any further enlargcmcrit~ of this time. This ordCl' is wilhou t

      ptcìudk~ to ¡my rights of the JnternaJ Revenue S4rvíce to ;:mend clï.iimfi aft4.~r tilt bar

      d¡il(', nor to the rights of any p(il'ti~s in interest to objt.'Ct to tluch amendment.



                                                         UNITED STATES RANKRlIPTCY JUDGE


     Se('rI and A~r£'ed



     ..__............~
       'ONA TAN rmi.Bi.UM                                             P. KI\NS/\
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                                                                                                                  EXHIBIT

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